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                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                ORANGEBURG DIVISION

SHERONDA L. PARKER,                            )       Civil Action No. 5:19-cv-03337-KDW
                                               )
                       Plaintiff,              )
                                               )
               v.                              )
                                               )
ANDREW SAUL,                                   )
Commissioner of the Social Security            )
Administration,                                )
                                               )
                       Defendant.              )


                                              ORDER

       This matter is before the court on the parties’ Stipulation for Attorney’s Fees Pursuant to

the Equal Access to Justice Act (EAJA), advising of their agreement to stipulate to an award of

$8,300.00 in attorney fees and $400 in costs to Plaintiff. ECF No. 27. Plaintiff has also provided a

Petition for Attorney’s Fees, ECF No. 26, in which counsel provided itemization of the fees

sought. 1 The court finds the stipulated amount of fees to be reasonable and in accordance with

applicable law. Pursuant to the parties’ stipulation, Plaintiff’s Petition for Attorney’s Fees Pursuant

to EAJA, ECF No. 26, is granted to the extent it comports with this Order and the parties’

Stipulation.

       The parties have stipulated that Plaintiff should be awarded attorney fees under the EAJA

in the amount of eight thousand and three hundred dollars and 00/00 cents ($8,300.00) in attorney

fees, and four hundred dollars and 00/00 cent ($400.00) in costs. 2 These attorney fees will be paid



1
  In Plaintiff’s Petition for Fees, counsel indicated 45.3 hours were spent representing Plaintiff
before the court. ECF No. 26.
2
  Costs are paid from the Judgment Fund by the Department of the Treasury pursuant to 31 U.S.C.
§ 1304. See 28 U.S.C. § 2412(c)(1).
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directly to Plaintiff and sent to the business address of Plaintiff’s counsel, Robertson H. Wendt,

Jr., Esquire. Full or partial remittance of the awarded attorney fees will be contingent upon a

determination by the Government that Plaintiff owes no qualifying, pre-existing debt(s) to the

Government. If such a debt(s) exists, the Government will reduce the awarded attorney fees in this

Order to the extent necessary to satisfy such debt(s).

       An award of $8,300.00 in attorney fees and $400.00 in costs pursuant to the EAJA is

granted in accordance with this Order.

       IT IS SO ORDERED.




May 12, 2021                                                Kaymani D. West
Florence, South Carolina                                    United States Magistrate Judge




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